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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                                  CASE NO.: 4:05cr24-SPM

ANTHONY GOLDMAN,

           Defendant.
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                    ORDER CONTINUING SENTENCING

      For good cause shown, Defendant’s unopposed motion to continue

sentencing (doc. 149) is granted. Sentencing is reset for November 20, 2006 at

1:30 p.m.

      DONE AND ORDERED this 13th day of September, 2006.


                                   s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
